        Case 2:12-cv-06548-CDJ Document 201 Filed 10/15/21 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


TELFORD BOROUGH AUTHORITY,                  :             CIVIL ACTION
         Plaintiff,                         :
                                            :
       v.                                   :             No.:    12-CV-6548
                                            :
UNITED STATE ENVIRONMENTAL                  :
PROTECTION AGENCY, et al.,                  :
          Defendants.                       :


       AND NOW, this      15TH    day of October, 2021, upon consideration of Plaintiff’s

Motion to Deem Certain Allegations in Plaintiff’s Complaint Admitted (ECF No. 182),

Defendants’ Response in Opposition thereto (ECF No. 185) and Plaintiff’s Reply in Support

(ECF No. 188), and for the reasons set forth in the memorandum filed concurrently with this

Order, IT IS HEREBY ORDERED that Plaintiff’s Motion is DENIED WITHOUT

PREJUDICE. It is FURTHER ORDERED that within fourteen days of the date of this Order,

Defendants shall file an Amended Answer that complies with Federal Rule of Civil Procedure 8.


                                                   BY THE COURT:


                                                    /s/ Lynne A. Sitarski           .
                                                   LYNNE A. SITARSKI
                                                   United States Magistrate Judge
